    Case 09-10138-MFW      Doc 12749-19   Filed 01/03/14   Page 1 of 16




                                                    Court File No.: 09-CL-7950

                                ONTARIO
                        SUPERIOR COURT OF JUSTICE
                             (Commercial List)


    IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT
                ACT, R.S.C. 1985, c. c-36, AS AMENDED

        AND IN THE MATTER OF A PLAN OF COMPROMISE OR
    ARRANGEMENT OF NORTEL NETWORKS CORPORATION, NORTEL
NETWORKS LIMITED, NORTEL NETWORKS GLOBAL CORPORATION, NORTEL
  NETWORKS INTERNATIONAL CORPORATION and NORTEL NETWORKS
                   TECHNOLOGY CORPORATION

          APPLICATION UNDER THE COMPANIES' CREDITORS
         ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED



                FACTUM OF THE JOINT ADMINISTRATORS
                        OF THE EMEA DEBTORS
                   (Motion returnable January 7, 2014)




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      Case 09-10138-MFW             Doc 12749-19        Filed 01/03/14      Page 2 of 16




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     FACTUM OF THE JOINT ADMINISTRATORS OF THE EMEA DEBTORS

                                      PART I ~ OVERVIEW

                          1
1.               The EMEA Debtors          file this factum in support of the US Debtors'

motion     to   dispense     with    the   Representative      Deposition     process     currently

contemplated by the Discovery Plan and Deposition Protocol.


2.               The parties have now had an opportunity to depose over 100 fact

witnesses in advance of trial, including each and every trial witness that will be called

by any party.       They will also have the opportunity to depose all of the expert

witnesses who will be providing opinion evidence at trial. In addition, the parties are

currently negotiating a trial protocol which is expected to include the pre-trial



         Capitalized terms used in this factum but not otherwise defined herein shall have the
         meanings given to them in the Discovery Plan and Deposition Protocol attached as Exhibits
         "A" and "C", respectively, to the Affidavit of Fara Tabatabai, sworn January 2, 2014
         ("Tabatabai Affidavit").
      Case 09-10138-MFW          Doc 12749-19      Filed 01/03/14     Page 3 of 16




exchange of each .party's evidence in chief, including fact witnesses, through

affidavits, exhibit lists, deposition designations and pre-trial briefs.


3.            In this context, the Representative Depositions initially proposed to

address any gaps in testimony arising from the fact witness depositions are

unnecessary, and would represent millions of dollars in unwarranted expense.


4.            Moreover, the inquiries by the Canadian Discovery Group by way of its

651 Representative Depositions topics, are not proper discovery inquiries and are

comprised almost entirely of requests to simply list all of the facts and documents in

support of the parties' various claims. In any event, the trial protocol will allow all

parties to receive this information in advance of trial, rendering the Representative

Depositions entirely redundant.


5.            The EMEA Debtors have reviewed the factum submitted by the US

Debtors and support and reiterate the arguments advanced therein. In this factum,

the EMEA Debtors intend to supplement and amplify the arguments advanced by the

US Debtors to the extent necessary given the positions of the EMEA Debtors.


                                  PART II ~ THE FACTS

A.     Background

6.             The present motion is brought by the US Debtors, and supported by the

EMEA Debtors, the- UK Pension Claimants, the UCC and the Ad Hoc Group of
      Case 09-10138-MFW            Doc 12749-19   Filed 01/03/14   Page 4 of 16




Bondholders, following the completion of over 100 depositions of relevant fact
2
witnesses.


7.             Initially, the Deposition Protocol contemplated that pre-trial witness

examinations would occur in two stages with depositions of fact witnesses occurring

first, followed by the Representative Depositions. After the completion of fact witness

depositions, each Deposition Group was entitled to seek Representative Witness

testimony from the other parties, but only to the extent that the prior fact witness
                                       3
testimony had not addressed a relevant subject.


8.             As the US Debtors have indicated, the Representative Depositions

were at all times intended to be a gap-filling mechanism, which would allow the

parties to seek factual testimony that they were otherwise unable to obtain from

witnesses with first-hand knowledge if, for example, witnesses were unavailable or

unwilling to be deposed. The clearest evidence of this intention is the Deposition

Protocol, which entitles each Deposition Group to serve "a very limited number of

subjects on which it believes no fact witness currently or formerly associated with the

party producing the Representative Witness has provided adequate first-hand

testimony." The Deposition Protocol further provides that "fpjrovided such subjects

are small in number and reasonable in scope, the Representative Witness has a duty
                                        4
to prepare to testify on the designated subjects."     Finally, the Deposition Protocol



2
      Tabatabai Affidavit at para. 8.
3
      Tabatabai Affidavit at paras. 5-6.
4
       Ibid.
       Case 09-10138-MFW            Doc 12749-19     Filed 01/03/14     Page 5 of 16




provides that undertakings would not need to be given regarding matters that were

"the subject of first-hand deposition testimony obtained from a knowledgeable fact

witness".


B.     The Depositions Conducted To Date

9.             In order to arrive at the list of fact witnesses to be deposed, each Core

Party was given the opportunity to designate witnesses they believed to have

relevant knowledge based on documents or other information available to them. Of

the fact witnesses identified by the parties, nearly every one was ultimately deposed.

In total, since the depositions in connection with these proceedings began in late

September 2013, over 100 individuals have been deposed in more than 15 cities on

three continents at significant cost to all 5parties.


10.            With respect to the EMEA entities specifically, 39 former EMEA

employees,     directors and officers were deposed              in   connection with these

proceedings, including numerous former senior EMEA directors, vice presidents and
        6
general counsel.       The parties also deposed Ryan Smith and Graham Richardson

who, while not EMEA employees, were seconded by NNL or NNI to the EMEA
7
region.




       Tabatabai Affidavit at paras. 7-8.

       A complete list of the former EMEA personnel deposed in connection with these proceedings
       is appended as Schedule "A" to the Tabatabai Affidavit.

       Tabatabai Affidavit at para. 9.
         Case 09-10138-MFW            Doc 12749-19   Filed 01/03/14   Page 6 of 16




11.              During many, if not most, of the 41 depositions of EMEA personnel, the

Canadian Debtors and Monitor did not utilize all of the time allotted to them for
8
questioning.


12.              In addition to these 41 individuals, two of the court-appointed Joint

Administrators for the EMEA Debtors were deposed: (i) Alan Bloom, partner in the

restructuring practice at Ernst & Young UK; and (ii) Chris Hill, Executive Director of

the Ernst & Young Ltd. local office in the British Virgin Islands (formerly also of Ernst
        9
& Young UK).


13.              The Canadian Discovery Group examined Mr. Bloom for approximately

three hours and Mr. Hill for approximately two hours, but asked virtually no questions

on any of the EMEA claims, despite the fact that either Mr. Bloom or Mr. Hill had

personally signed nearly every Proof of Claim filed on behalf of the EMEA Debtors.

Instead, the Canadian Discovery Group chose to examine Mr. Bloom and Mr. Hill

primarily on the relationships among the various Ernst & Young entities around the

globe.    In the case of Mr. Hill, at the time of his deposition, the EMEA and US

Discovery Groups had already advised that they intended to challenge the need for

the Representative Deposition process. If the Canadian Discovery Group believed

that they had not obtained adequate fact witness testimony on the Proofs of Claim, it

was incumbent on them to ask outstanding questions of the individuals who signed




         Tabatabai Affidavit at para. 10.

         Tabatabai Affidavit at para. 11.
      Case 09-10138-MFW            Doc 12749-19   Filed 01/03/14   Page 7 of 16




the Proofs of Claim. Their decision not to do so should not be a basis for requiring
                       0
                       1
Representative Witness depositions.


C.    The Representative Examinations Proposed by the Canadian Debtors

14.           On December 11, 2013, the EMEA Debtors and the US Debtors sought

consent from all Core Parties to dispense with the Representative Depositions as a

result of the comprehensive fact witness depositions that had taken place.
                                                                      1
Unfortunately, the Canadian Discovery Group would not consent to this request.


15.           On December 13, 2013, the Discovery Groups each served lists of the

topics on which they intended to seek Representative Witness testimony (and upon

which they requested that the Representative Witnesses inform themselves and be

prepared to testify).. Without prejudice to their positions in the current motion, the

EMEA Discovery Group and US Discovery Group together served, in aggregate
                                       2
                                       1
combined total, 16 topics comprising 4 pages.


16.           Notwithstanding the requirement in the Deposition Protocol that the

topics be "very limited" in number and "reasonable in scope", the Canadian

Discovery Group served a total of 651 topic
                                      s     comprising 101 pages. Of these, 567




10
      Tabatabai Affidavit at para. 12.
11
      Tabatabai Affidavit at para. 13
12
      Tabatabai Affidavit at para. 14.
      Case 09-10138-MFW              Doc 12749-19         Filed 01/03/14       Page 8 of 16




s
topic comprising 92 pages are specifically directed at Representative Witnesses for

the EMEA 13Debtors.


17.            Not only are the topics served by the Canadian Discovery Group

numerous, but they are also extremely broad, unreasonable in scope and represent

improper questions on discovery.


18.            The vast majority of the topics identified by the Canadian Discovery

Group ask the various EMEA Debtor Representative Witnesses to inform themselves

and be prepared to testify to all of the "facts and documents demonstrating" or the

"facts and documents that form the basis for" nearly every aspect of the claims and

positions advanced by the EMEA 14Debtors.


19.            These topics, together with the other topics the Canadian Discovery

Group served on the EMEA Debtors, cover nearly every fact and document at issue

in this litigation. In addition, the vast majority of these topics, even individually, are

improper inquiries for an examination for discovery. In essence, they represent a

request that the EMEA Debtors set out, at this stage, a comprehensive list of all of

their trial evidence well in advance of trial. What makes this request more perplexing

in the context of the current proceedings is that the parties deposed more than 100

fact witnesses and are currently negotiating a trial protocol which is expected to


3
1
       Tabatabai Affidavit at para. 15. As outlined in the factum of the US Debtors, the Canadian
       Debtors and Monitor have proposed a potential alternative for discussion, which, for the
       reasons outlined by the US Debtors, is potentially even more problematic than the 651 topic
       list they originally served.
4
1
       Tabatabai Affidavit at para. 16. See, e.g. Exhibit "I" to the Tabatabai Affidavit, "Subjects for
       NNUK Representative Witness", at paras. 4,13, 15, 20, 27.
         Case 09-10138-MFW            Doc 12749-19   Filed 01/03/14   Page 9 of 16




include the pre-trial exchange of each party's evidence in chief, including fact

witnesses, through affidavits, exhibit lists, deposition designations, and pre-trial

briefs. As a result, the parties will receive a comprehensive list of trial evidence in

advance of trial, without the need for the Representative Depositions currently at

issue.


20.              Notwithstanding the unreasonably broad scope of their own topics

under the Deposition Protocol, the Canadian Debtors and Monitor objected to each of

the five topics that the EMEA Discovery Group served on them, asserting, among

other things, that the topics were improper to the extent that they called for

information already available in fact witness testimony or through the documents

produced to 16date.


21.              To prepare properly to respond to the sheer volume and unreasonably

broad nature of the questions the Canadian Discovery Group has posed would

require a massive amount of effort and time at enormous expense, running into the

millions of dollars.      This task could not be undertaken in the short period of time

allotted for it, and even with significant additional time it would be impossible to

answer the vast majority of the questions given their breadth. Moreover, it is unlikely

that the Representative Depositions would result in the discovery of any new

information that was not already available to the parties as a result of the more than




15
         Tabatabai Affidavit at paras, 17, 20.
16
         Tabatabai Affidavit at para. 18.
      Case 09-10138-MFW             Doc 12749-19         Filed 01/03/14         Page 10 of 16




100 depositions conducted to date or through the production of more than two million
7
1
documents.


22.            As indicated above, there will be extensive pre-trial exchange of

evidence. Importantly, the proposed trial procedures will also prohibit any party from

calling at trial a witness that has not been 18deposed.                  Given this pre-trial exchange

of evidence and the extensive fact discovery already conducted to date, including the

fact that each party has had the opportunity to depose every single potential trial

witness, Representative Depositions are not necessary and cannot be justified in light

of the enormous expense that would be required to prepare for and conduct them.


                              PART III ~ LAW AND ARGUMENT

23.            As mentioned above, the EMEA Debtors agree with and rely upon the

submissions of the US Debtors.               In addition to those submissions, each of the

following is addressed briefly below: (i) the scope of depositions to date combined

with the trial protocol being negotiated renders the Representative Depositions

unnecessary; and (ii) the nature of the topics served by the Canadian Deposition

Group reveal that the Representative Depositions are unnecessary.


A.     The Depositions Conducted to Date and the Anticipated Trial Protocol
       Render Representative Depositions Unnecessary.

24.            To the surprise of the parties, almost every single witness designated

for pre-trial deposition testimony was ultimately deposed, including 41 EMEA-related



       Tabatabai Affidavit at para. 19.

       Affidavit of Jeffrey A. Rosenthal, to be sworn, at para. 36(i).
      Case 09-10138-MFW           Doc 12749-19       Filed 01/03/14      Page 11 of 16
                                              -10-



deponents. As a result, the parties have had an unprecedented opportunity (at least

in the Canadian context) to examine, in advance of trial, every single 19witness              who

will ultimately testify at trial as well as dozens of additional witnesses (assuming that

not all of the 100-plus deponents will be trial witnesses). As a corollary, every single

fact that will be led by any party at trial either was, or could have been, obtained

during the deposition process.


25.           It is in'this context that the intended purpose of the Representative

Depositions as a "gap-filling" mechanism, is most relevant. Because the parties have

obtained such a significant volume and percentage of the pre-trial testimony sought,

and because they have agreed to limit trial witnesses to those individuals deposed,

there are no gaps to'be filled. Furthermore, the Canadian Discovery Group has also

already examined two Joint Administrators for the EMEA Debtors.


26.           The only two effects of the Representative Depositions will be to require

the parties to exchange this information months before trial, before any party would

have a reasonable opportunity to consider the evidence adduced so far (particularly

as document review is ongoing) and determine all of the facts and documents on

which they intend to rely at trial; and to do so twice, inserting into the pre-trial process

an additional and extremely expensive process.              As outlined above, the expense

associated with the Representative Depositions will be expanded significantly by the




19
       While they have pot been deposed to date, this also includes expert witnesses who are also
       slated to submit to depositions in advance of trial.
      Case 09-10138-MFW            Doc 12749-19        Filed 01/03/14       Page 12 of 16




extreme breadth of topics (651 topics in total) that the Canadian Deposition Group

has requested that the Representative Witnesses inform themselves on.


B.     The Nature of the Topics Served by the Canadian Deposition Group
       Reveal that Representative Depositions Are Unnecessary

27.            The vast majority of what the Canadian Discovery Group seeks to

obtain by way of the Representative Deposition process are complete lists of all of

the "facts and documents" demonstrating or supporting the various claims made by

the other parties. As a representative example, of the 30 separate topics directed

specifically towards the Representative Witness for Nortel Networks UK Ltd., 26
                                           0
                                           2
request such exhaustive lists of facts and documents.


28.            Questions of this nature were clearly not what was contemplated by the

Discovery Plan and Deposition Protocol.                As discussed above, the Deposition

Protocol requires that the parties serve "a very limited number of subjects on which it

believes no fact witness currently or formerly associated with the party producing the

Representative Witness has provided adequate first-hand testimony."                         It is not

possible that any witness could provide adequate first-hand testimony on all of the

"facts and documents" in support of any particular claim or position of any party and it

is therefore implicit in the wording of the Deposition Protocol that this type of inquiry

is not what was intended for the Representative Depositions.




       Tabatabai Affidavit, Exhibit "I", "Subjects for NNUK Representative Witness at paras. 1-4, 7-8,
       10-22, 24-30.
      Case 09-10138-MFW           Doc 12749-19 Filed 01/03/14            Page 13 of 16
                                          - 12-



29.           Moreover, for all the reasons set out by the US Debtors and by the

Court in the Livent decision, in particular when discovery has been extensive, there is

no requirement for a party to identify all of the documents it will be relying on at 21
                                                                                     trial.

In any event, the parties have agreed to the pre-trial exchange of evidence in chief by

way of affidavits, exhibit lists, deposition designations and pre-trial briefs.            Where

they disagree is whether such disclosure is required as part of the Representative

Deposition process as well. Given the enormous expense, running into the millions

of dollars, of embarking on the entirely redundant exercise of Representative

Depositions, the process cannot possibly be justified.


                                 PART IV - CONCLUSION

30.           For all of the foregoing reasons, the Joint Administrators of the EMEA

Debtors respectfully request that the US Debtors' motion be granted with costs.


January 3, 2014               ALL OF WHICH IS RESPECTFULLY SUBMITTED.




                                    -fgesz
                                    DAVIES WARD PHILLIPS & VINEBERG L L P




       Livent Inc. (Special Receiver) v. Deloitte & Touche, 2012 ONSC 7007, US Debtors' Brief of
       Authorities, Tab 1.
     Case 09-10138-MFW     Doc 12749-19    Filed 01/03/14   Page 14 of 16




                              SCHEDULE"A"
                           LIST OF AUTHORITIES

1.   Livent Inc. (Special Receiver) v. Deloitte & Touche, 2012 ONSC 7007 (S.C.J.
     (Master).      "
Case 09-10138-MFW   Doc 12749-19   Filed 01/03/14   Page 15 of 16




                       SCHEDULE"B
                         STATUTES
                          Case 09-10138-MFW   Doc 12749-19   Filed 01/03/14   Page 16 of 16



IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT, R.S.C.
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                                                                                   Proceeding commenced at Toronto



                                                                              FACTUM OF THE JOINT ADMINISTRATORS
                                                                                     OF THE EMEA DEBTORS


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